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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

    BENNIE G. THOMPSON, et al.,                )
                                               )
                        Plaintiff,             )
                                               )
       v.                                      ) Civil Case No. 1:21-cv-00400-APM
                                               )
    DONALD J. TRUMP, et al.,                   )
                                               )
                        Defendants.            )
                                               )

            DEFENDANT DONALD J. TRUMP’S MOTION TO DISMISS

       Defendant Donald J. Trump moves this Court for dismissal of all claims

pursuant to Fed. R. Civ. P. 12(b)(1) and 12 (b)(6).

      The amended complaint must be dismissed for lack of subject matter

jurisdiction because of its lack of justiciability, due to absolute immunity and the

political question doctrine, and because Plaintiffs lack standing. The amended

complaint also fails to state a claim upon which relief may be granted.

      In support of this motion, Mr. Trump submits the accompanying

memorandum, which is fully incorporated herein. For these foregoing reasons, as well

as those contained in the accompanying memorandum, Defendant moves that the

Court dismiss Plaintiffs’ Amended Complaint, with prejudice.

Dated: May 26, 2021                              Respectfully submitted,

                                                 /s/ Jesse R. Binnall
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                           CERTIFICATE OF SERVICE

      I certify that on May 26, 2021, a copy of the foregoing was filed with the

Clerk of the Court using the Court’s CM/ECF system, which will send a copy to all

counsel of record.


Dated: May 26, 2021                           /s/ Jesse R. Binnall
                                              Jesse R. Binnall
                                              Attorney for Donald J. Trump
